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Andrew Wolfe Expenses October 2017

Invoice No.   Matter Name   Date         Timekeeper who Incurred Expense Expense Category   Unit Cost   No. of Units   Total       Expense Description
October‐17    Title III     10/6/2017    Andrew Wolfe                    Airfare            $1,746.40   1              $1,746.40   United airfare for travel to San Francisco for meeting w
October‐17    Title III     10/10/2017   Andrew Wolfe                    Taxi               $51         1              $51.00      Uber from home to Houston airport
October‐17    Title III     10/10/2017   Andrew Wolfe                    Meals              $5.68       1              $5.68       Breakfast at Houston airport (Ember)
October‐17    Title III     10/10/2017   Andrew Wolfe                    Taxi               $96.72      1              $96.72      Taxi from San Francisco airport to Rhodium Group
October‐17    Title III     10/10/2017   Andrew Wolfe                    Meals              $30.13      1              $30.13      Dinner in San Francisco (Forge Pizza)
October‐17    Title III     10/11/2017   Andrew Wolfe                    Hotels             $434.30     1              $434.30     Lodging at Waterfront Hotel in San Francisco, Oct. 10‐1
October‐17    Title III     10/11/2017   Andrew Wolfe                    Taxi               $38.18      1              $38.18      Uber to San Francisco airport
October‐17    Title III     10/13/2017   Andrew Wolfe                    Train fare         $289        1              $289.00     Amtrak from Washington, D.C. to New York for meeting
October‐17    Title III     10/13/2017   Andrew Wolfe                    Train fare         $227        1              $227.00     Amtrak return trip from New York to Washington, D.C.
October‐17    Title III     10/18/2017   Andrew Wolfe                    Taxi               $25.17      1              $25.17      Uber from Washington, D.C. lodging (personal home) to
October‐17    Title III     10/18/2017   Andrew Wolfe                    Train fare         $13.80      1              $13.80      Amtrak from Washington, D.C. to New York for meeting
October‐17    Title III     10/18/2017   Andrew Wolfe                    Meals              $8.29       1              $8.29       Breakfast at Washington, D.C. Union Station (Einstein B
October‐17    Title III     10/18/2017   Andrew Wolfe                    Meals              $3.50       1              $3.50       Coffee on Amtrak from Washington, D.C. to New York
October‐17    Title III     10/18/2017   Andrew Wolfe                    Meals              $3.54       1              $3.54       Breakfast in New York (Dean & Delucca)
October‐17    Title III     10/18/2017   Andrew Wolfe                    Meals              $5.50       1              $5.50       Lunch on Amtrak from New York to Washington, D.C.
                                                                                                                       $2,978.21
                                Case:17-03283-LTS Doc#:2718-3 Filed:03/16/18 Entered:03/16/18 15:12:50   Desc:
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ith Rhodium Group, Oct. 10‐11, 2017




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g at Proskauer

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                                                                    Exhibit 3 Page 3 of 6

Andrew Wolfe Expenses November 2017


Invoice No.   Matter Name   Date         Timekeeper who Incurred Expense   Expense Category Unit Cost   No. of Units   Total       Expense Description
November‐17   Title III     11/2/2017    Andrew Wolfe                      Airfare          1351.40     1              $1,351.40   Airfare for travel to New Jersey for meeting with mediators in New
November‐17   Title III     11/2/2017    Andrew Wolfe                      Airfare          687.10      1              $687.10     Airfare for travel to San Juan for meeting with stakeholders (Nov. 1
November‐17   Title III     11/2/2017    Andrew Wolfe                      Airfare          788.20      1              $788.20     Airfare for travel from Washington, D.C. to home in Houston after
November‐17   Title III     11/9/2017    Andrew Wolfe                      Train            13.00       1              $13.00      NJ Transit train from New Jersey to New York for meeting with me
November‐17   Title III     11/9/2017    Andrew Wolfe                      Train            13.00       1              $13.00      NJ Transit train from New York to New Jersey from meeting with m
November‐17   Title III     11/9/2017    Andrew Wolfe                      Meals            19.46       1              $19.46      Dinner at New Jersey (Newark) airport (C1)
November‐17   Title III     11/9/2017    Andrew Wolfe                      Parking          22.00       1              $22.00      Parking fee at Houston airport
November‐17   Title III     11/15/2017   Andrew Wolfe                      Taxi             54.11       1              $54.11      Uber from home to Houston airport
November‐17   Title III     11/15/2017   Andrew Wolfe                      Meals            6.83        1              $6.83       Breakfast at Houston airport (Cubo Express)
November‐17   Title III     11/15/2017   Andrew Wolfe                      Taxi             23.00       1              $23.00      Taxi from San Juan airport to Casa Sol Bed & Breakfast
November‐17   Title III     11/15/2017   Andrew Wolfe                      Taxi             9.54        1              $9.54       Uber while in San Juan to FOMB Office
November‐17   Title III     11/15/2017   Andrew Wolfe                      Meals            28.05       1              $28.05      Dinner while in San Juan (Morenos Sports Bar)
November‐17   Title III     11/16/2017   Andrew Wolfe                      Taxi             13.63       1              $13.63      Uber while in San Juan from Casa Sol hotel to Public Meeting venue
November‐17   Title III     11/16/2017   Andrew Wolfe                      Meals            31.75       1              $31.75      Dinner while in San Juan (Restaurante Raices)
November‐17   Title III     11/17/2017   Andrew Wolfe                      Hotels           370.76      1              $370.76     Lodging in San Juan at Casa Sol Bed & Breakfast (Nov. 15‐17, 2017)
November‐17   Title III     11/17/2017   Andrew Wolfe                      Taxi             10.03       1              $10.03      Uber from Casa Sol hotel to San Juan airport
November‐17   Title III     11/17/2017   Andrew Wolfe                      Meals            10.00       1              $10.00      Lunch at San Juan airport (Gustos Café)
November‐17   Title III     11/20/2017   Andrew Wolfe                      Parking          10.00       1              $10.00      Parking fee at DevTech office (Arlington, Virginia)
November‐17   Title III     11/21/2017   Andrew Wolfe                      Airfare          1151.40     1              $1,151.40   Airfare for travel to Houston from meeting at Rothschild's office
November‐17   Title III     11/21/2017   Andrew Wolfe                      Train            366.00      1              $366.00     Amtrak fare for roundtrip travel on Nov. 21, 2017 to New York for
November‐17   Title III     11/21/2017   Andrew Wolfe                      Meals            10.54       1              $10.54      Breakfast at Washington, D.C. Union Station (Einstein Bros. Bagel)
November‐17   Title III     11/21/2017   Andrew Wolfe                      Meals            11.25       1              $11.25      Lunch at New York Penn Station (Don Pepi Pizza)
November‐17   Title III     11/28/2017   Andrew Wolfe                      Hotel            379.78      1              $379.78     Dreamcatcher Hotel in San Juan (100% cancellation fee)‐‐meeting
                                                                                                                       $5,380.83
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w York (Nov. 9, 2017 same day roundtrip, includes $200 change
 15, 2017, one wa
  meetings in New york and Washington, D.C. around Nov. 19‐21, 2017 (Nov. 25, 2017 one w
ediators in New Y
mediators in New Y




 meeting at Rothschild's off



 with stakeholders cancelled (hotel was booked for Nov. 27‐29, 20
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Andrew Wolfe Expenses December 2017

Invoice No.   Matter Name Date       Timekeeper who Incurred Expense   Expense Category   Unit Cost    No. of Units Total      Expense Description
  December‐17 Title II     12/3/2017 Andrew Wolfe                      Train fare              $425.00             1 $425.00 Amtrak Roundtrip to NY
  December‐17 Title II     12/4/2017 Andrew Wolfe                      Hotels                  $177.68             1 $177.68 LaQuinta Hotel in NYC
  December‐17 Title II     12/4/2017 Andrew Wolfe                      Train fare               $10.00             1    $10.00 NYC Subway Card
  December‐17 Title II     12/5/2017 Andrew Wolfe                      Parking                  $19.00             1    $19.00 Parking for Meeting at McKinsey DC
  December‐17 Title II     12/6/2017 Andrew Wolfe                      Train fare              $546.00             1 $546.00 Amtrak Roundtrip to NYC
  December‐17 Title II     12/6/2017 Andrew Wolfe                      Parking                  $24.00             1    $24.00 Parking for Day at Union Station
  December‐17 Title II    12/13/2017 Andrew Wolfe                      Train fare              $590.00             1 $590.00 Amtrak Roundtrip to NYC
  December‐17 Title II    12/13/2017 Andrew Wolfe                      Parking                  $24.00             1    $24.00 Parking at Union Station
                                                                                                                     $1,815.68
                                       Case:17-03283-LTS Doc#:2718-3 Filed:03/16/18 Entered:03/16/18 15:12:50                                                                                                  Desc:
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Andrew Wolfe Expenses January 2018


Invoice No.         Matter Name Date         Timekeeper who Incurred Expense   Expense Category   Unit Cost No. of Units Total        Expense Description
         January‐18 Title III      1/12/2018 Andrew Wolfe                      Taxi                  $34.54             1    $34.54   Uber roundtrip to meeting at DevTec in Virginia
         January‐18 Title III      1/18/2018 Andrew Wolfe                      Flight               $830.00             1 $830.80     Flight to San Juan for meetings with ppBoard and Governor
         January‐18 Title III   1/18‐20/2018 Andrew Wolfe                      Hotel              $1,207.42             1 $1,207.42   Hotel in San Juan
         January‐18 Title III   1/18‐20/2018 Andrew Wolfe                      Taxi                  $75.82             1    $75.82   Uber trips for rides to and from airport and to and from FOMB office in San Juan
         January‐18 Title III      1/18/2018 Andrew Wolfe                      Parking               $68.00             1    $68.00   Parking at Dulles airport for San Juan trip
         January‐18 Title III      1/21/2018 Andrew Wolfe                      Taxi                  $20.85             1    $20.85   Uber from Proskauer's Washington, D.C. office
         January‐18 Title III      1/21/2018 Andrew Wolfe                      Taxi                  $23.07             1    $23.07   Uber to Proskauer's Washington, D.C. office
                                                                                                                          $2,216.58
